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                              UNITED STATES DISTRICT COURT

                                DISTRICT OF SOUTH DAKOTA


                                      CENTRAL DIVISION



UNITED STATES OF AMERICA,                                           3:18-CR-30152-RAL


                        Plaintiff,

                                                             ORDER DIRECTING RESPONSE
        vs.



HERIBERTO NAVARRO ORTIZ,

                        Defendant.
                                                                                                      '




       Defendant Heriberto Navarro Ortiz filed a motion seeking the return of seven pieces of

property he alleges were taken from him when he was "detained and incarcerated." Doc. 55. A

district court with jurisdiction over a criminal matter has ancillary equitable jurisdiction over post-

conviction motions for the return of property. Thompson v. Covington,47 F.3d 974,975(8th Cir.

1995)(per curiam); United States v. Martinez. 241 F.3d 1329, 1330-31 (11th Cir. 2001). Rule

41(g) of the Federal Rules of Criminal Procedure provides that a "person aggrieved by . . . the

deprivation of property may move for the property's return." The Eighth Circuit uses a burden-

shifting framework to resolve motions for return of property under Rule 41(g). Jackson v. United

States. 526 F.3d 394, 396-97 (8th Cir. 2008). First, the movant "must show that he is entitled to

lawfully possess the seized property at issue, and that the Government has or had the property."

United States v. Howard. 973 F.3d 892, 894 (8th Cir. 2020)(citations omitted). The hurden of

establishing lawful entitlement to the property "is often satisfied by showing that the property was

seized from the movant's possession, as a person from whom property is seized is presumed to
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have a right to its return." Jackson. 526 F.3d at 396. If the movant meets his initial harden,"the

Government must then establish a legitimate reason to retain the property." Howard,973 F.3d at

894(cleaned up and citation omitted).

       Ortiz's motion contains very little detail, and this Court does not know who may have taken

the property Ortiz claims was seized upon his arrest. Because it may involve some work for the

Government to determine what happened to Ortiz's property, this Court will give the Government

sixty days from the date of this order to respond to Ortiz's motion for return of property. Ortiz

will then have thirty days from the date the government responds to file a reply.



       DATED this 13th day of October, 2021.

                                             BY THE COURT:




                                             ROBERTO A. LANGE
                                             CHIEF JUDGE
